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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


 DANIEL JAROCH,

                   Plaintiff,

         v.                                              Case No.: 17-CV-8518

 FLORIDA FRUIT JUICES, INC.,                             Hon. Virginia M. Kendall
 DONALD FRANKO, SR.,
 DONALD FRANKO, JR., and
 WILLIAM J. FRANKO

                   Defendants.


                          DEFENDANTS’ ANSWERS TO PLAINTIFF’S
                             FIRST SET OF INTERROGATORIES

        NOW COME Defendants, FLORIDA FRUIT JUICES, INC.; DONALD FRANKO, SR.;

DONALD FRANKO, JR.; and WILLIAM J. FRANKO (hereinafter “Defendants”), and pursuant

to Rules 26 and 33 of the Federal Rules of Civil Procedure, submit the following answers to

Plaintiff’s First Set of Interrogatories:

        1.      Please state the name, address, phone number, and position of any and all

individuals that prepared, compiled, contributed to, or assisted in any way in responding to these

interrogatories.

        ANSWER:           William J. Franko, Vice President – Florida Fruit Juices, Inc.

(hereinafter “FFJ”); Donald Franko, Sr., President – FFJ; Donald Franko, Jr., Vice

President – FFJ; and Defendants’ counsel.




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       2.      Identify each and every person whom you believe to possess knowledge of any

facts or circumstances which refer or relate to any of the allegations in Plaintiffs’ Complaint. For

each person identified:

               a.      State full name;

               b.      State whether the person is an employee of Defendant and their title;

               c.      State the last known address and telephone number of said person; and

               d.      Describe the knowledge belied to be possessed by said person.

       ANSWER:         See Response #1 contained on pp. 1-4 of Defendants’ Disclosures

Pursuant to The Mandatory Initial Discovery Project, served on Plaintiff’s counsel on March

2, 2018. Investigation continues.

       3.      Identify the following information regarding Plaintiff’s employment with

Defendant:

               a.      Date of hire;

               b.      Dates of all changes in employment;

               c.      All compensation paid during all relevant times of employment, including

                       i.     benefits;

                       ii.    all overtime wages paid;

                       iii.   all bonuses, commission or incentive payments

               d.      Complete employment history; and [sic]

               e.      All positions held with Defendant.

               f.      all hours/minutes worked and all hours/minutes paid

               g.      all schedules and other indications of days and hours worked

               h.      all documents demonstrating work hours

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       ANSWER:        Objection. This Interrogatory is overly broad, unduly burdensome,

and not reasonably tailored to lead to the discovery of relevant evidence. Specifically, this

Interrogatory is not limited to the relevant time period in question, which is the last three

years of Plaintiff’s employment with FFJ. Further, the term “complete employment history”

is not defined, and is vague as to what, exactly, Plaintiff seeks. Finally, this Interrogatory

consists of eight distinct sub-parts, and thus will be treated as eight separate interrogatories.

       Without waiving said objections, Defendants submit the following answers:

       3(a).   Plaintiff was hired by FFJ on December 4, 2000.

       3(b).   For the last three years of his employment with FFJ, Plaintiff held the position

of Maintenance Manager; his position did not change during that time period.

       3(c).   See document D000001 produced with Defendants’ Disclosures Pursuant to

The Mandatory Initial Discovery Project and D00014-27, produced herewith.

       3(d).   Defendants cannot answer this Interrogatory because they do not know what

Plaintiff is seeking in terms of a “complete employment history.”

       3(e).   For the last three years of his employment with FFJ, Plaintiff held the position

of Maintenance Manager.

       3(f).   As a member of FFJ’s management team, Plaintiff was not required to keep

track of his hours/minutes worked. He was paid on a salary basis. See, also, the description

of Plaintiff’s work schedule contained in Defendants’ Disclosures Pursuant to The

Mandatory Initial Discovery Project, pp. 8-9.

       3(g).   As a member of FFJ’s management team, Plaintiff was not required to stick

to a set schedule. As a practical matter, Plaintiff was permitted to come and go as he pleased,

provided he was available to address various maintenance issues as they arose. See, also, the

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description of Plaintiff’s work schedule contained in Defendants’ Disclosures Pursuant to

The Mandatory Initial Discovery Project, pp. 8-9.

        3(h).   As a member of FFJ’s management team, Plaintiff was not required to

document the hours that he worked. See, also, the description of Plaintiff’s work schedule

contained in Defendants’ Disclosures Pursuant to The Mandatory Initial Discovery Project,

pp. 8-9.

        4.      Please describe in detail each and every one of the Plaintiff’s job duties and

responsibilities.

        ANSWER:        See, Job Description, attached as pp. D00012-13 to Defendants’

Disclosures Pursuant to The Mandatory Initial Discovery Project.

        5.      Was the Plaintiff classified as “exempt” from overtime? If yes, please provide the

following:

                a.     The exact FLSA provision and/or DOL Regulation on which Defendant

                       based that classification;

                b.     Any ‘alternative’ basis’s [sic] of the salary classification for the Plaintiff;

                c.     State each and every effort, inquiry, and legal opinion received that lead

                       Defendant to classify Plaintiff as “exempt” and/or to pay on a “salary basis”

                d.     State if Defendant received or asked for information relating to how

                       Defendant’s [sic] claim of exemption would be effected, changed, altered

                       or potentially or actually challenged by a policy which requires payments

                       by employees who were paid on a “salary basis”; if no information was

                       received relate [sic] to this request, please state that no information was

                       received.

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               e.     state if Plaintiff was ever paid on an hourly basis, and if so, what was the

                      reasons [sic] for the change in status to alleged salary biases [sic] and the

                      dates for both the change to salaried and the date for review and

                      determination of same, including in your answer all analysis, legal review,

                      changes to job duties which lead to the alleged change in classification.

       ANSWER:        Objection. This Interrogatory is overly broad, unduly burdensome,

and not reasonably tailored to lead to the discovery of relevant evidence. Defendants also

object to the extent this Interrogatory seeks legal advice / analysis that is protected by the

attorney-client privilege and/or the attorney work product doctrine. Further, Defendants

cannot provide answers to interrogatories 5(b) and 5(d) because, as worded, Defendant

cannot discern what, exactly, Plaintiff is seeking in those interrogatories. Finally, this

Interrogatory consists of five distinct sub-parts, and thus will be treated as five separate

interrogatories.

       Without waiving said objections, Defendants provide the following answers:

       5(a).   Yes, Defendants classified Plaintiff as an “exempt” employee for all relevant

purposes, pursuant to 29 USC §213(a)(1) and its attendant regulations, including but not

limited to, 29 CFR §541.100; 29 CFR §541.102; 29 CFR §541.106; 29 CFR §541.600 and 29

CFR §541.703(b)(4).

       5(b).   Defendants cannot provide an answer to this Interrogatory because

Defendants cannot discern what, as worded, this Interrogatory is seeking.

       5(c).   Defendants object to this Interrogatory on the basis that it seeks legal

advice/opinions protected by the attorney-client privilege and/or attorney work product

doctrine.

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       5(d).   Defendants cannot provide an answer to this Interrogatory because

Defendants cannot discern what, as worded, this Interrogatory is seeking.

       5(e).   Plaintiff was always paid on a salary basis, as set forth in documents bearing

Bates Number D00001, produced with Defendants’ Disclosures Pursuant to The Mandatory

Initial Discovery Project, and D00014-27, produced herewith.

       6.      Identify all salaried employees of Defendant in the last three years prior to the filing

of the Complaint:

       a.      full name;

       b.      State whether the person is an employee of Defendant and their title, and

location(s):

       c.      State the last known home address and telephone number of said person; and [sic]

       d.      email address of same (if known)

       e.      all known phone numbers.

       ANSWER:         Objection. This Interrogatory is overly broad, unduly burdensome,

and not reasonably tailored to lead to the discovery of relevant evidence. The identity –

particularly the personally-identifiable information sought herein – of other employees of

FFJ has no relevance to whether Plaintiff received proper compensation during his

employment with FFJ.

       7.      Describe all actions of Plaintiff which demonstrate his primary duty [sic] the

exercise of discretion and independent judgment with respect to matters of significance by Plaintiff

include in your answer:

       a.      Date

       b.      Time

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        c.     Location (including the location were [sic] Plaintiff was within Defendant [sic]

facilities)

        d.     Witnesses

        e.     Documents created

        f.     Changes, alterations, modification, or other affects [sic] caused by the alleged

exercise of authority

        g.     Name all other persons involved in the decision making including who made the

decisions, and who provided input.

        h.     The amount of time expended in management each day.

        ANSWER:         Objection. This Interrogatory is overly broad, unduly burdensome,

and not reasonably tailored to lead to the discovery of relevant evidence. Defendants cannot

answer this Interrogatory because Defendants cannot discern what, exactly, Plaintiff is

seeking.

        Without waiving said objections, to the extent Plaintiff is seeking information

regarding Plaintiff’s exercise of discretion and independent judgment in his role as

Maintenance Manager for FFJ, see pp. 7-10 of Defendants’ Disclosures Pursuant to The

Mandatory Initial Discovery Project, as well as documents bearing Bates Numbers D00002-

13 produced therewith. See, also, documents bearing Bates Numbers D00028-54, D00055-

103, and D00128-152, produced herewith. Investigation continues.

        8.     Describe all actions, decisions and work in which Plaintiff performed office or non-

manualwork [sic] directly related to the management or general business operations of the

employer or the employer’s customers [sic] include in your answer:

        a.     Date

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        b.     Time

        c.     Location (including the location were [sic] Plaintiff was within Defendant [sic]

facilities)

        d.     Witnesses

        e.     Documents created

        f.     Changes, alterations, modifications, or other affects [sic] caused by the alleged

exercise of office or non-manualwork [sic]

        g.     Name all other persons involved in the office or non-manualwork [sic] including

who else performed the office work and/or non-manual work.

        h.     The amount of time expended in office or non-manualwork [sic] each day.

        i.     Name the type of workperformed [sic] by the employee

        ANSWER:       Objection. This Interrogatory is overly broad, unduly burdensome,

and not reasonably tailored to lead to the discovery of relevant evidence. Defendants cannot

possibly set for the exact date, time, location, and other details of every “action, decision and

work” performed by Plaintiff during his time at FFJ. Further, this interrogatory consists of

at least six distinct sub-parts [(1) the date, time, location, and type of work performed by

Plaintiff (sub-parts a-c; i); (2) the identity of witnesses to the work performed by Plaintiff

(sub-part d); (3) any documents created by Plaintiff during the performance of his work

(sub-part e); (4) the “changes, alterations, modifications, or other affects [sic]” caused by

Plaintiff’s performance (sub-part f); (5) the identify of all other individuals involved in office

and/or non-manual work at FFJ (sub-part g); and (6) the amount of time Plaintiff expended

performing office and/or non-manual work each day (sub-part h)], and thus will be treated

as six separate interrogatories.

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        Without waiving said objections, to the extent Plaintiff is seeking information

regarding Plaintiff’s performance of office and/or non-manual work in his role as

Maintenance Manager for FFJ, see pp. 7-10 of Defendants’ Disclosures Pursuant to The

Mandatory Initial Discovery Project, as well as documents bearing Bates Numbers D00002-

13 produced therewith. See, also, D00028-54, D00055-103, and D00128-152, produced

herewith. Investigation continues.

        9.     Describe what authority Plaintiff had to hire or fire other employees promote,

assign, discipline, and/or make any tangible employment decisions for any employee include in

your answer all specific instances where such authority was exercised by Plaintiff, including:

        a.     Date

        b.     Time

        c.     Location (including the location were [sic] Plaintiff was within Defendant [sic]

facilities)

        d.     Witnesses

        e.     Documents created

        f.     Changes, alterations, modification, or other affects [sic] caused by the alleged

exercise of authority

        g.     Name all other persons involved [sic] tangible employment action in the [sic]

including who made the decisions, and who provided input.

        h.     Name all persons Plaintiff interviewed for employment, and/or participated in the

hiring process for.

        i.     Name all persons Plaintiff evaluated, including all performance reviews by Plaintiff

of other employees.

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        j.     Name all persons Plaintiff disciplined, including all disciplines Plaintiff drafted,

signed, co-wrote or otherwise partook in.

        k.     Name all persons whom Plaintiff ended the employment of, including all

employment terminations in which Plaintiff partook, advised, drafted termination papers or

otherwise engaged or contributed to the termination of same employee.

        ANSWER:        Objection. This Interrogatory is overly broad, unduly burdensome,

and not reasonably tailored to lead to the discovery of relevant evidence. This Interrogatory

consists of at multiple distinct sub-parts, which, when combined with the preceding

interrogatories, including their multiple distinct sub-parts, exceed the 25 interrogatories

permitted by Rule 33(a)(1) of the Federal Rules of Civil Procedure.

        Without waiving said objections, see p. 8 of Defendants’ Disclosures Pursuant to The

Mandatory Initial Discovery Project, as well as documents bearing Bates Numbers D00001,

D00006-7, and D00012-13 produced therewith. See, also, D00128-152 and D00186-249,

produced herewith. Investigation continues.

        10.    Describe what authority Plaintiff had regarding staffing, participation and/or

assistance in the development, enforcement, and/or implementation of any company policies,

include in your answer all specific instances where such authority was exercised by Plaintiff,

including:

        l)[sic] Date

        m)[sic] Time

        n)[sic] Location (including the location were [sic] Plaintiff was within Defendant [sic]

facilities)

        o)[sic] Witnesses

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       p)[sic] Documents created

       q) [sic] Changes, alterations, modifications, or other affects [sic] caused by the alleged

exercise of authority.

       ANSWER:           Objection. This Interrogatory is overly broad, unduly burdensome,

and not reasonably tailored to lead to the discovery of relevant evidence. This Interrogatory

consists of multiple distinct sub-parts, which, when combined with the preceding

interrogatories, including their multiple distinct sub-parts, exceed the 25 interrogatories

permitted by Rule 33(a)(1) of the Federal Rules of Civil Procedure. Furthermore, Defendants

could not possibly set forth every single “specific instance” in which Plaintiff exercised his

management authority over the course of his last three years employment with FFJ. Finally,

this Interrogatory is repetitive, as it seeks largely the same information as the previous three

interrogatories.

       Without waiving said objections, see Answers to Interrogatories 7-9 herein.

       11.     Please identify all company policies, practices, and procedures, whether written or

oral, formal or informal, related to FLSA, and Illinois Wage Laws. For each such policy or

procedure:

       a.      Identify the effective dates of the policy, practice, or procedure;

       b.      The location of the policy, practice or procedure;

       c.      The individual(s) responsible for drafting the policy, practice, or procedure;

       d.      The dates the policy, practice, or procedure was revised, modified and updated;

       e.      A copy of any written policy, practice or procedure; and

       f.      A summary of any oral policy, practice or procedure.




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        ANSWER:         Objection. This Interrogatory is overly broad, unduly burdensome,

and not reasonably tailored to lead to the discovery of relevant evidence. This Interrogatory

consists of multiple distinct sub-parts, which, when combined with the preceding

interrogatories, including their multiple distinct sub-parts, exceed the 25 interrogatories

permitted by Rule 33(a)(1) of the Federal Rules of Civil Procedure.

        Without waiving said objections, FFJ did not have any formal, written policies or

procedures relating to FLSA or Illinois wage laws during Plaintiff’s employment at FFJ. Any

instructions/guidance to employees with regard to those areas would have been provided

verbally. Subsequently, FFJ has memorialized its policies and procedures in the FFJ

Employee Handbook, produced herewith bearing Bates Numbers D00153-179. See, also,

labor law posters at FFJ’s facilities, photos of which are being produced herewith bearing

Bates Numbers D00181-82. Investigation continues.

        12.    Describe all decisions Plaintiff made and describe what if any review and approval

of the management of Defendant occurred, include in your answer all specific instances where

such decisions were exercised by Plaintiff, including:

        a.     Date

        b.     Time

        c.     Location (including the location were [sic] Plaintiff was within Defendant [sic]

facilities)

        d.     Witnesses

        e.     Documents created

        f.     Changes, alterations, modification, or other affects [sic] caused by the alleged

exercise of authority

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       g.      Name all other persons involved in the decision making including who made the

decisions, and who provided input.

       ANSWER:        Objection. This Interrogatory is overly broad, unduly burdensome,

and not reasonably tailored to lead to the discovery of relevant evidence. This Interrogatory

consists of multiple distinct sub-parts, which, when combined with the preceding

interrogatories, including their multiple distinct sub-parts, exceed the 25 interrogatories

permitted by Rule 33(a)(1) of the Federal Rules of Civil Procedure. Furthermore, Defendants

could not possibly set forth every single “decision[ ] Plaintiff made” or each “specific

instance” in which Plaintiff made a deicsion over the course of his last three years

employment with FFJ. Finally, this Interrogatory is repetitive, as it seeks largely the same

information as Interrogatories 7-9.

       Without waiving said objections, see Answers to Interrogatories 7-9 herein.

       13.     Please identify all witnesses that you expect to call to testify at any hearing, trial,

or other proceeding related to this matter. Please provide the name, address, and a summary of

each witness’ knowledge and the subject matter upon which the witness is expected to testify.

       ANSWER:        Objection. This Interrogatory, when combined with the preceding

interrogatories, including their multiple distinct sub-parts, exceeds the 25 interrogatories

permitted by Rule 33(a)(1) of the Federal Rules of Civil Procedure. Furthermore, at this

stage in this litigation, Defendants have not yet identified the final lists of witnesses that they

may call to testify at any hearing, trial, or other proceeding related to this matter.

       Without waiving said objections, see Response #1 contained on pp. 1-4 of Defendants’

Disclosures Pursuant to The Mandatory Initial Discovery Project, served on Plaintiff’s

counsel on March 2, 2018. Investigation continues.

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       14.     Identify each person whom you expect to call as an expert witness at trial, if any,

and as to each potential expert identified include: the subject matter on which the expert is expected

to testify; a complete statement of all opinions to which the expert is expected to testify and be

expressed, and the basis, reasons, grounds therefore; the data or other information considered by

the witness in forming the opinions; the qualifications of the witness, including a list of all

publications authored by the witness within the preceding ten years; the compensation to be paid

for the study and testimony; and a listing of any other cases in which the witness has testified as

an expert at trial or by deposition within the preceding four years. Identify all documents related

to your answer.

       ANSWER:         Objection. This Interrogatory, when combined with the preceding

interrogatories, including their multiple distinct sub-parts, exceeds the 25 interrogatories

permitted by Rule 33(a)(1) of the Federal Rules of Civil Procedure.

       Without waiving said objection, at this stage in this litigation, Defendants have not

yet identified any expert witnesses that will testify on behalf of Defendants. To the extent

necessary, Defendants expressly reserve their right to supplement this response as this

litigation progresses, consistent with the Federal Rules of Civil Procedure and any discovery

orders entered by the Court herein.

       15.     Identify each and every document that you intend to introduce at any hearing, trial,

or other proceeding related to this matter.

       ANSWER:         Objection. This Interrogatory, when combined with the preceding

interrogatories, including their multiple distinct sub-parts, exceeds the 25 interrogatories

permitted by Rule 33(a)(1) of the Federal Rules of Civil Procedure.




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       Without waiving said objection, see all documents previously produced, all

documents produced herewith and in response to Plaintiff’s First Request for Production of

Documents. Investigation Continues.

       16.    Describe each and every fact which supports Defendants’ Fourth Affirmative

Defense, Exemption.

       ANSWER:        Objection. This Interrogatory is overly broad, unduly burdensome,

and not reasonably tailored to lead to the discovery of relevant evidence. In addition, this

Interrogatory, when combined with the preceding interrogatories, including their multiple

distinct sub-parts, exceeds the 25 interrogatories permitted by Rule 33(a)(1) of the Federal

Rules of Civil Procedure.

       Without waiving said objection, see pp. 6-10 of Defendants’ Disclosures Pursuant to

The Mandatory Initial Discovery Project, as well as documents bearing Bates Numbers

D00001-13 produced therewith. See, also, all documents produced herewith and in response

to Plaintiff’s First Request for Production of Documents. Investigation Continues.

       17.    Describe each and every instance where Plaintiff exercised of [sic] discretion and

independent judgment each day in 2017.

       ANSWER:        Objection. This Interrogatory is overly broad, unduly burdensome,

and not reasonably tailored to lead to the discovery of relevant evidence. This Interrogatory,

when combined with the preceding interrogatories, including their multiple distinct sub-

parts, exceeds the 25 interrogatories permitted by Rule 33(a)(1) of the Federal Rules of Civil

Procedure. Furthermore, Defendants could not possibly set forth “each and every instance”

in which Plaintiff exercised discretion and independent judgment over the course of an entire

year. Notably, this Interrogatory is not even limited to Plaintiff’s employment with FFJ.

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Finally, this Interrogatory is repetitive, as it seeks largely the same information as

Interrogatories 7-9.

       Without waiving said objections, see Answers to Interrogatories 7-9 herein.

       18.     Describe each and every fact which supports Defendants’ Fifth Affirmative

Defense, Notice.

       ANSWER:         Objection. This Interrogatory, when combined with the preceding

interrogatories, including their multiple distinct sub-parts, exceeds the 25 interrogatories

permitted by Rule 33(a)(1) of the Federal Rules of Civil Procedure.

       Without waiving said objection, during his employment with FFJ – and, in particular,

during his last three years of employment with FFJ – Plaintiff never complained to any of

the Defendants regarding the number of hours he was working. As set forth in Defendants’

Disclosures Pursuant to The Mandatory Initial Discovery Project, Plaintiff would commonly

show up for work long after start-up of production, and his constant presence at the facility

was not required. Investigation continues.

       19.     Describe in detail all facts supporting Defendant’s [sic] claims that Plaintiff [sic]

primary duty was:

       (i)     Requiring knowledge of an advanced type in a field of artistic or creative endeavor;

               or

       (ii)    Requiring invention, imagination, originality or talent in a recognized field of

artistic or creative endeavor

       Include in your answer, which field of artistic or creative endeavor and/or recognized field

of field [sic] of artistic or creative endeavor Plaintiff was engaged, educated, trained or otherwise

involved.

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       ANSWER:        Objection. This Interrogatory, when combined with the preceding

interrogatories, including their multiple distinct sub-parts, exceeds the 25 interrogatories

permitted by Rule 33(a)(1) of the Federal Rules of Civil Procedure. Further, this

Interrogatory is based on an erroneous assumption – that Defendants have “claimed” that

Plaintiff was engaged in a field of artistic or creative endeavor.

       Without waiving said objections, to the extent this Interrogatory seeks facts

supporting claims of exemption that Defendants actually have made, see Answers to

Interrogatories 7-9 herein, as well as Defendants’ Disclosures Pursuant to The Mandatory

Initial Discovery Project and the documents produced therewith. Investigation continues.

       20.    Describe all aspects of Plaintiff’s alleged “Advanced knowledge” education

including:

              1)      The highest level of education obtained by Plaintiff

              2)      The colleges, universities, and/or academies Plaintiff attended

              3)      The degree Plaintiff received

       ANSWER:        Objection. This Interrogatory, when combined with the preceding

interrogatories, including their multiple distinct sub-parts, exceeds the 25 interrogatories

permitted by Rule 33(a)(1) of the Federal Rules of Civil Procedure. Further, this

Interrogatory is based on an erroneous assumption – that Defendants have claimed that

Plaintiff was possessed “Advanced knowledge” requiring an advanced degree and/or

education.

       Without waiving said objections, to the extent this Interrogatory seeks facts

supporting claims of exemption that Defendants actually have made, see Answers to




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Interrogatories 7-9 herein, as well as Defendants’ Disclosures Pursuant to The Mandatory

Initial Discovery Project and the documents produced therewith. Investigation continues.

       21.     Describe all facts supporting Defendant’s [sic] claims including Plaintiff’s alleged

“Advanced knowledge” including if Defendant [sic] is claiming Plaintiff has substantially the

same knowledge and perform substantially the same work as the degreed employees, but who

attained the advanced knowledge through a combination of work experience and intellectual

instruction.

       ANSWER:        Objection. This Interrogatory, when combined with the preceding

interrogatories, including their multiple distinct sub-parts, exceeds the 25 interrogatories

permitted by Rule 33(a)(1) of the Federal Rules of Civil Procedure. Further, this

Interrogatory is based on an erroneous assumption – that Defendants have “alleged” that

Plaintiff was possessed “Advanced knowledge” requiring an advanced degree and/or

education.

       Without waiving said objections, to the extent this Interrogatory seeks facts

supporting claims of exemption that Defendants actually have made, see Answers to

Interrogatories 7-9 herein, as well as Defendants’ Disclosures Pursuant to The Mandatory

Initial Discovery Project and the documents produced therewith. Investigation continues.

       22.     Describe all instances in which Plaintiff allegedly customarily and regularly directs

the work of two or more other employees including:

       1)      Names, addresses, phone numbers and email addresses of each of those employees

       2)      all facts which support that Plaintiff directed the work of those employees.

       ANSWER:        Objection. This Interrogatory is overly broad, unduly burdensome,

and not reasonably tailored to lead to the discovery of relevant evidence. This Interrogatory

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when combined with the preceding interrogatories, including their multiple distinct sub-

parts, exceeds the 25 interrogatories permitted by Rule 33(a)(1) of the Federal Rules of Civil

Procedure. Furthermore, Defendants could not possibly set forth “all instances” in which

Plaintiff directed the work of FFJ employees over the course of his last three years

employment with FFJ. Finally, this Interrogatory is repetitive, as it seeks largely the same

information as previous interrogatories.

       Without waiving said objections, see Answers to Interrogatories 7-9 herein, as well as

Defendants’ Disclosures Pursuant to The Mandatory Initial Discovery Project and the

documents produced therewith. See, also, documents bearing Bates Numbers D00186-249,

consisting of timecards of employees who regularly worked directly for Plaintiff.

Investigation continues.

       23.     Describe in detail how Plaintiff was given free access to retrieve all his personal

property after his termination, including all witnesses to the event.

       Objection. This Interrogatory, when combined with the preceding interrogatories,

including their multiple distinct sub-parts, exceeds the 25 interrogatories permitted by Rule

33(a)(1) of the Federal Rules of Civil Procedure.

       Without waiving said objection, Plaintiff was terminated on September 28, 2017.

During the week of October 2, 2017, Plaintiff was permitted full access to the maintenance

shop to retrieve his property by prior arrangement. Plaintiff visited FFJ on two occasions,

accompanied and assisted by his son, as well as William Franko and Donald Franko. During

each visit, Plaintiff had a truck on to which he loaded his equipment. At the last visit, Plaintiff

and Donald Franko talked about what else Plaintiff needed, and Plaintiff stated that the only

item he would need was his aluminum plank that was located in a loft. Plaintiff has never

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returned to pick up the aluminum plank. At no time did Plaintiff make any demand prior to

filing suit with regard to any other items.

       DATED:         May 8, 2018



                                              Respectfully submitted,

                                              /s/ Ryan A. Mahoney

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  Case: 1:17-cv-08518 Document #: 35-2 Filed: 06/21/18 Page 22 of 22 PageID #:234




                                CERTIFICATE OF SERVICE

         I, Ryan A. Mahoney, an attorney, hereby certify that I served this document on the parties
listed herein on May 8, 2018, via electronic mail and via first class U.S. Mail, proper postage
affixed, by dropping same in the regular U.S. Mailbox located at 120 West 22nd Street, Oak Brook,
Illinois 60523.

                                                      /s/ Ryan A. Mahoney


                                        SERVICE LIST

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